                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:04cr271

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                     ORDER
                                         )
ILA LITTLE HOWARD (3)                    )
________________________________________ )

       THIS MATTER is before the Court upon motion of the defendant pro se to allow her to

communicate with her son, Tracy Howard, a co-defendant in her case. (Doc. No. 447).

       Both Ila and Tracy Howard are in the custody of the Bureau of Prisons (BOP). According

to the documents attached to the motion, it appears that the restriction has been imposed by the

BOP based on review of information in its files and the recommendation of the prosecuting

Assistant United States Attorney. The defendant has not shown that this Court has authority to

alter such a decision. See e.g. White v. Keller, 588 F.2d 913, 914 (4th Cir. 1978) (no

constitutional right to unregulated visitation); Turner v. Safley, 482 U.S. 78, 89 (1987) (prison

regulations valid if related to legitimate penological interests).

       IT IS, THEREFORE, ORDERED, that the defendant’s pro se motion is DENIED.

                                                    Signed: October 22, 2009




    Case 3:04-cr-00271-RJC-DCK              Document 474         Filed 10/23/09    Page 1 of 1
